                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

MICHAEL LEVISAY,                                       §
                                                       §
                            Plaintiff,                 §
                                                       §
v.                                                     §     CIVIL ACTION NO.:
                                                       §
ASSURANT INC,                                          §
                                                       §
                            Defendant.                 §

                                       APPENDIX IN SUPPORT OF
                                   DEFENDANT’S NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. § 1446 and L.R. CV-81, in support of its Notice of Removal,

Defendant provides the Court with the attached documentation:

                                                                                      APPENDIX
EXHIBIT             DATE                           DESCRIPTION
                                                                                         NO.
      1          04/07/2017         Judicial Docket Entries – Case Summary             APP. 1-3
                                    Plaintiff’s Original Petition, Jury Demand, and
      2          02/24/2017                                                           APP. 4-12
                                    Request for Disclosure
      3          02/24/2017         Civil Case Information Sheet                       APP. 13

      4          02/27/2017         Record/Copy Request                                APP. 14

      5          03/01/2017         Request for Issuance of Citation                   APP. 15

      6          03/02/2017         Citation                                           APP. 16

      7          03/23/2017         Service Returned                                  APP. 17-19

      8          04/07/2017         Defendant’s Original Answer                       APP. 20-25

      9          04/10/2017         Declaration of Jeremy Purvis                       APP. 26




APPENDIX IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL                                        PAGE 1
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                                           Respectfully submitted,

                                           By:    /s/ Vicki L. Gillette
                                                 Vicki L. Gillette
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                                                 Jamie Lauren Strickler
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                                                 vgillette@littler.com
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                                           ATTORNEYS FOR DEFENDANT




                                   CERTIFICATE OF SERVICE


      This is to certify that a true and correct copy of this document has been served on
counsel of record, according to the Federal Rules of Civil Procedure, on April 12, 2017.

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Attorneys for Plaintiff



                                           /s/ Vicki L. Gillette
                                           Vicki L. Gillette
                                           Jamie Lauren Strickler




APPENDIX IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL                              PAGE 2
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EXHIBIT 1
Judicial Docket Entries
    Cause No. 17-1593-393




                            APP. 1
                                             393RO JUDICIAL DISTRICT COURT

                                                CASE SUMMARY
                                                 CASE       No. 17-1593-393
 Michnel Levisny VS. Assurnnt Inc.                                  §                       Location: 393rll Jullicinl District Court
                                                                    §                Judicial Officer: Robison, Douglns
                                                                    §                       filed on: 02/24/2017
                                                                    §

                                                        CASE INFORMATION


                                                                                         Case Type: Discriminntion

                                                                                               Case
                                                                                             Status: 02/24/2017 Active


     DATE                                                C\SE ASSIGNMENT


                Current Cnse Assignment
                Case Number                          17-1593-393
                Court                                393rd Judicial District Court
                Date Assigned                        0212412017
                Judicial Officer                     Robison, Douglas




                                                        PARTI' INFORM,\TION
                                                                                                              Lead Allorneys
Plnintiff           Levisny, Michnel                                                                                    Longe, Evnn E.
                                                                                                                              Retained
                                                                                                                     214-528-65li(F)
                                                                                                                    214-528-6500(\V)

Defendant           Assurnnt Inc.                                                                                    Gillette, Vicki L.
                                                                                                                              Retained
                                                                                                                     214-880-0 181(f)
                                                                                                                    214-880-81 00( W)

     DATE                                     EVENTS & OltOEitS OF TilE COURT


   02124/2017      ~ Plaintill's Original Petition
                     Jury Demand, a11d Request/or Disclosure
   02/24/2017      ~Case Information Sheet
   02127/2017      ~ Record/Copy Request
   03/01/2017      ~ Request for Issuance of
                     Citation
   03/02/2017     Citntion
                   ~ Assurant Inc.
                  Served: 03/06120 I 7
                  Return Date/Time: 03123/2017
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   03/23/2017      ~Service Returned
                     -Citatioll by Certified Mail Return Receipt Requested through tire Secrctal')' ofState; Assurant
   04/07/2017      ~ Defendant's Original Answer
                     & Aj]irmati1·e Defenses
                     filed b ·: Defendant Assumnt Inc.
     DATE                                                   FINANCIAL INFOR:\1,\T

                Plnintiff Lcvisay, Michael
                Total Charges                                                                                                  290.00


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                                                                                                                                               APP. 2
                                           393RD JUDICIAL DISTRICT COURT

                                             CASE SUMMARY
                                             CASE   No. 17-1593-393
              Total Payments and Credits                                                                    290.00
              Bnlnnce Due as or 4t7/2017                                                                      0.00

0212712017    Charge                                                Plaintiff Levisay, Michael              282.00
02/27/2017    TexFile Payment Receipt# 2017·5523                    Plaintiff Lcvisny, Michnel             (282.00)
03/0112017    Chnrgc                                                Plaintiff Levisny, Michncl                8.00
03/01 12017   TexFile Payment Receipt# 2017·5919                    Plaintiff Lcvisay, Michael               (8.00)




                                                     PAGE 2 0 F 2                                Printed 0 11 O.f '07 2017 a/ J 09 PAl



                                                                                                                               APP. 3
EXHIBIT 2
                                                                          FILED: 2/24/2017 4:57:37 PM
                                                                          SHERRI ADELSTEIN
                                                                          Denton County District Clerk
                                                                          By: Kelly Smith, Deputy




                              NO._17-1593-393
                                   _ _ _ _ _ _ __

                                             §
MICHAEL LEVISAY                              §
Plaintiff,                                   §        IN THE DISTRICT COURT
                                             §
vs.                                          §     _ _ _ JUDICIAL DISTRICT
                                             §
ASSURANT INC.,                               §        DENTON COUNTY, TEXAS
Defendant                                    §
                                             §


                 PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
                        AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

       Michael Lcvisay sues Assurant for disability discrimination and retaliation because

Assurant fired him for requesting to wear his diabetic medical identilication necklace. Mr.

Lcvisay wears the medical necklace to alert first responders to his condition if he becomes

unconscious during a diabetic episode. This became an issue while working at Assurant because

Assurant used metal detectors for loss prevention. Mr. Lcvisay's necklace would set off these

detectors. Instead of allowing Mr. Levisay to we<Jr his medic<JI ID necklace, they asked him to

remove the necklace while at work, endangering his life. More than once Mr. Levisay asked for a

reasonable <Jccommodation to wear the necklace, and Assumnt denied this request more than

once. Eventually the situation caused Mr. Levisay to become depressed, and he requested an

accommodation to treat his depression. Again, Assurant denied this accommodation and

subsequently fired him.




PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE




                                                                                                         APP. 4
              I. DISCOVERY CONTROL PLAN & CLAIM FOR RELIEF

   1. Plaintiff intends that this suit be governed by Discovery Control Level Two and

      affirmatively pleads that this suit is not governed by the expedited-actions process in

      Texas Rule of Civil Procedure 169 because Plaintiff requests injunctive relief and

      monetary relief over $100,000.

   2. Plaintiff seeks monetary relief over $200,000 but not more than S I ,000,000 and

      nonmonetary relief.

                       II. PARTIES, JURISDICTION, AND VENUE

   3. Plaintiff, Michael Levisay, is an individual who resides in Denton County, Texas.

   4. Assurant is a Georgia corporation with its principal place of business in Georgia that

      transacts business in Texas and this proceeding arises out of that business which Acadia

      conducted in Texas. Pursuant to Texas Civ. Prac. & Rem. Code §§ 17.044(a)(J ),

      § 17.044(b), and § 17.045(a), Defendant may be served with process by serving the

      Secretary of State at Service of Process, Secretary of State, P.O. Box 12079, Austin,

      Texas 78711-2079.

   5. Personal jurisdiction over Defendant Assurant is appropriate because at all times relevant

      to Plaintiff's claims, Defendant Assurant was doing business in the State of Texas as

      defined by the Texas Long Ann Statute, contained in Section 17.042 of the Texas Civil

      Practice and Remedies Code, by recruiting Texas residents for employment inside the

      State of Texas through its various locations throughout the State of Texas including

      Defendant's location where Mr. Levisay was employed. Further, an exercise of

      jurisdiction will not offend traditional notions of fair play and substantial justice.

   6. This court has jurisdiction over this matter because it arises under the laws of the State of



PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
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                                                                                                      APP. 5
      Texas. The amount in controversy exceeds the minimum jurisdictional limits of this

      Court.

   7. Venue is appropriate in this Court under Tex. Civ. Prac. & Rem. Code§ 15.017 because

      actions giving rise to the suit took place in this county.

                              III. FACTUAL BACKGROUND

   8. Mr. Levisay began working for Assurant in December 2014.

   9. At the time of his termination, Mr. Levisay worked for Assurant's Lewisville, Texas

      office.

   10. Mr. Levisay has diabetes, a disability under the Labor Code.

   11. To treat his diabetes, Mr. wears an insulin pump that monitors and maintains his insulin

      levels.

   12. Mr. Levisay also wears a medical identification necklace, denoting he has diabetes, to

      alert healthcare providers of his condition in the event he becomes unconscious or

      otherwise unable to communicate.

   13. The effects of a diabetic episode can be fatal, and the necklace identifying his condition

      could provide crucial life-saving notice to healthcare providers.

   14. Mr. Levisay's medical necklace and insulin pump became an issue during his

      employment at Assurant.

   15. Assurant used metal detectors at the location where Mr. Levisay worked for loss

      prevention.

   16. Assurant required employees to ingress and egress through the detectors.

   17. Mr. Levisay's necklace and insulin pump would set off the magnetometers.

   18. Assurant required Mr. Levisay to remove the potentially life-saving medical



PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE




                                                                                                    APP. 6
      identification necklace and leave it in his locker to avoid setting off the detector.

   19. This entire process slowed Mr. Levisay's comings and goings.

   20. Mr. Levisay requested a reasonable accommodation on more than one occasion to wear

      the necklace through the magnetometers.

   21. Assurant repeatedly denied Mr. Levisay's request for this accommodation, violating the

      Labor Code by refusing this request.

   22. On numerous occasions, Mr. Levisay asked to wear the alert because it could save his life

      if he had a diabetic episode at work.

   23. Mr. Levisay further explained the necklace was difficult to remove by design.

   24. Assurant denied Mr. Levisay's reasonable and potentially live saving request for an

      accommodation      and    refused    to   engage    him     in   exploring    other     possible

      accommodation(s).

   25. Mr. Levisay complained numerous times about being discriminated against and denied a

      reasonable accommodation.

   26. However, instead of protecting Mr. Levi say, Assurant retaliated against him for opposing

      discrimination.

   27. For example, Mr. Levisay was disciplined for engaging with Assurant's security service

      to explain his ongoing and well-known need for accommodation.

   28. The discrimination and retaliation to which Assurant subjected Mr. Levisay took a toll on

      him.

   29. Mr. Levisay began to suffer from depression.

   30. Mr. Levisay required the accommodation of limited medical leave and an adjusted

      schedule to treat his depression.



PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE                                                                  PAGE40F9




                                                                                                         APP. 7
   31. Despite awareness of Mr. Levisay's medical needs, Assurant once again refused to

      accommodate his disability and terminated Mr. Levisay.

   32. Eventually, Assurant terminated Mr. Levisay.

   33. Assurant's stated reason for terminating him was poor attendance.

   34. The true reason for Mr. Levisay's termination was his diability and his repeated requests

      for a reasonable accommodation.

   35. Mr. Levisay's termination was discriminatory and retaliatory.

                                  IV. CAUSES OF ACTION

   A. TCHRA Disability Discrimination

   36. Plaintiffrealleges and incorporates the allegations contained in the Paragraphs above as if

      fully stated herein.

   37. Plaintiff has satisfied all jurisdictional prerequisites in connection with his claims under

      the Texas Commission on Human Rights Act ("TCHRA"), Tex. Lab. Code §§ 21.001, et

      seq.

   38. Defendant is an "employer" as defined by the TCHRA in Tex. Lab. Code. § 21 .002.

   39. Plaintiff is an "employee" as defmed by the TCHRA in Tex. Lab. Code. § 21 .002.

   40. Defendant subjected Plaintiff to disability discrimination when Defendant terminated

      him.

   41. As described above, Defendant intentionally and willfully violated the TCHRA by

      discriminating against Plaintiff in violation of the Tex. Lab. Code. §§ 21.051, 21.106 &

      21.125.

   42. In illegally discriminating against Plaintiff, Defendant acted with malice and/or reckless

      indifference to the statutorily-protected rights of Plaintiff.


PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE                                                                PAGE 5 OF9




                                                                                                      APP. 8
   43. As a result of Defendant's violations of the TCHRA, Plaintiff has suffered actual

      damages in the form of lost wages and benefits (past and future), in an amount that has

      not yet been fully established, but which can be estimated for the purpose of bringing this

      lawsuit for which they hereby sue.

   44. Plaintiff has also suffered compensatory damages in the form of emotional pain,

      suffering, inconvenience, mental anguish, loss of enjoyment of life, and other non-

      pecuniary damages and other losses, for which Plaintiff hereby sues.

   45. To redress the injuries sustained by Plaintiff on account of Defendant's discriminatory

      and retaliatory actions, Plaintiff has retained the undersigned counsel for representation in

      this action. Plaintiff therefore seeks recovery of his reasonable attorneys' fees, experts'

      fees, and costs.

   46. As a result of these willful violations of the TCHRA, Plaintiff requests he be awarded all

      compensatory and punitive damages, to which he is entitled, as outlined in Tex. Lab.

      Code. § 21 .2585, equitable and/or injunctive relief as outlined in Tex. Lab. Code. §

      21.258, and attorneys' fees and costs as described in Tex. Lab. Code. § 21.259.

   B. Retaliation

   47. Plaintiffrealleges and incorporates the allegations contained in the Paragraphs above as if

      fully stated herein.

   48. Defendant intentionally retaliated against Plaintiff in violation of the Tex. Lab. Code

      because of his protected activities.

   49. As a result of the unlawful retaliatory actions of Defendant as described above, Plaintiff

      has suffered, and will continue to suffer, actual damages in the form of lost wages,

      medical and mental health costs, both past and future, and lost employment benefits, for



PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE                                                                PAGE 60F9




                                                                                                      APP. 9
      which he hereby sues.

  50. As a result of Defendant's unlawful retaliation, Plaintiff has suffered compensatory

      damages by reason of emotional pain, suffering, inconvenience, mental anguish, loss of

      enjoyment of life, and other non-pecuniary damages, for which he hereby sues.

   51. At all times relevant to this action, Defendant acted with malice or reckless indifference

      to Plaintiff's protected rights, thus entitling him to punitive damages, for which he hereby

      sues.

   52. To redress the injuries sustained by Plaintiff on account of Defendant's retaliatory

      actions, Plaintiff has retained the undersigned counsel to represent him in this action.

      Plaintiff therefore seeks recovery of his reasonable attorneys' fees, experts' fees, and

      costs.

                                    V. JURY DEMAND

   53. Plaintiff hereby makes a demand for a trial by jury on all issues, claims and defenses in

      this action.

                            VI. REQUEST FOR DISCLOSURE

   54. Defendant is requested to disclose, within 50 days of service of this request, the

      information and material described in Texas Rule of Civil Procedure 194.2.

                                       VII. PRAYER

   55. WHEREFORE, Plaintiff Mr. Levisay respectfully requests that the above-named

      Defendant, be cited to appear in this matter and that, after jury trial by proof, he be

      awarded:

                 1.   Back pay, including but not limited to, lost wages (salary and

                      commissions) and other employment benefits;



PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE                                                               PAGE70F9




                                                                                                     APP. 10
              ii.   Reinstatement to Plaintiff position of employment, equivalent position of

                    employment, or the position of employment Plaintiff would have enjoyed

                    but for the discrimination and retaliation;

             iii.   In the event that reinstatement is not feasible, front pay with respect to all

                    pay and benefits Plaintiff would have received but for termination;

              iv.   Judgment against Defendant for compensatory damages including

                    emotional pain, suffering, inconvenience, mental anguish, and loss of

                    enjoyment of life;

              v.    Actual damages;

             vi.    Punitive damages;

             vii.   Liquidated damages in the maximum amount allowed by law;

            viii.   Judgment against Defendant for Plaintiff's reasonable attorneys' and

                    experts' fees; and costs of suit; and

              1x.   Prejudgment and post-judgment interest as allowed by law;

              x.    Such other and further legal and/or equitable relief to which Plaintiff may

                    be justly entitled, as this court may deem proper.




PLAINTIFF's ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE                                                               PAGE 8 OF9




                                                                                                     APP. 11
                     Respectfully submitted,
                     Date: February 24,2017

                     THE LAW OFFICES OF ROB WILEY, P.C.
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                     Dallas, Texas 75204
                     Phone: (214) 528-6500
                     Fax: (214) 528-6511

                     By: Is/ Evan B. Lange
                     Evan B. Lange (lead counsel)
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                     Robert J. Wiley
                     Texas Bar No. 24013 750
                     Board Certified in Labor & Employment Law
                      by the Texas Board ofLegal Specialization




PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE                                            PAGE90F9




                                                                             APP. 12
EXHIBIT 3
                                                                                                      FILED: 2/24/2017 4:57.37 PM
                                                                                                      SHERRI ADELSTEIN
                                                       CIVIL CASE INFORMATION SHEET                   Denton County District Clerk
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                                                                                                                                                                                                            APP. 13
EXHIBIT 4
                                                 Denton County District Clerk

                                        DOCUMENT RECORDS REQUEST FORM
               Requests for copies from case files ere retained by this office and filed in the requested case.
                  This form will be available for public viewing in /he same manner f!S the case records.


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         J~..;7~/                               SHERRI ADELSTEIN
   ,--------------------------------I.J.t:llwu..w~JLUW~~· trict Clerk
                                                By: Jennifer Stou Deputy
                                       CITATION -TRC 99 and 106
     THE STATE OF TEXAS                                                                 COUNTY OF DENTON
                                                  CAUSE NO. 17-1593-393

     TO: Assurant Inc., may be served by serving Texas Secretary of State, P.O. Box 12079, Austin,
     TX 78711-2079 and by forwarding to Defendant at 260 Interstate North Clr. SE, Atlanta, GA
     30339-2210; (or wherever he/she may be found)

     Notice to defendant You have been sued You may employ an attorney. If you, or your attorney, do not file a
     written answer with the clerk who issued this citation by 10:00 a.m. on the first Monday following the expiration of
     twenty days after you were served this citation and petition, a default judgment may be taken against you.

                              393rd Judicial District Court
         Court:
                              1450 E. McKinney, 4th Floor, Denton. TX 76209
         Cause No.:           17-1593-393
         Date of Filing:      February 24, 2017
         Document:            Plaintiffs Original Petition, Jury Demand, and Request for Disclosure
         Parties in Suit:     Michael Levisay, Assurant Inc
                              Sherri Adelstein, District Clerk
         Clerk:
                              1450 E McKinney, Suite 1200, Denton, TX 76209
         Party or             Evan B. Lange
         Party's Attorney.    2613 Thomas Ave.. Dallas. Texas 75204

          Issued under my hand and seal of this said court on this the 2nd day of March, 2017.
                                                                                Sherri Adelstein, District Clerk

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                                                                               Denton, Denton County, Texas

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                                                      Service Return

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     ___ day of                     . 20_, at        M by delivering to the within named

     ~-----:--~---::---:--~---:,..,-----:--,--in    person a true copy of this citation, with attached copy(ies)
     of the Plaintiff's Original Petition, Jury Demand, and Request for Disclosure, at


         SeiVice Fee: $ - - - - -                             _ _ _ _ _ _ _ _ _ _ _ _ Sheriff/Constable
                                                              _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

         SeiVice ID No                                                                     Deputy/Authorized Person

                                                      VERIFICATION
               On this day personally appeared                                                            known to me
     to be the person whose name is subscribed on the foregoing instrument and who has stated: upon penalty of
     perjury, I attest that the foregoing instrument has been executed by me in this cause pursuant to the Texas Rules
     of Civil Procedure I am over the age of eighteen years and I am not a party to or interested in the outcome of
     this suit, and have been authorized by the Denton County Courts to serve process
               Subscribed and sworn to before me on this the            day of                                    20_

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                                                                                                                               APP. 15
EXHIBIT 6
                            CAUSE NO. 17-1593-393
                 DENTON COUNTY 393Ro .JUDICIAL DISTRICT COURT

                                        MICHAEL LEVJSAY
                                                   vs.
                                          ASSURANT, INC.


                                               RETURN

Came to my hand:       March 2, 2017 at 3:45p.m.

To:                    Assurant, lnc.
                       May be served by Serving the Texas Secretary of State
                       P.O. Box 12079
                       Austin, Tx 78711

_ x_   Citation and copy
  x    Plaintitrs Original Petition. Jury Demand and Request for Disclosure and copy
_ x_   $55.00 Fee by check 3331
  x    Co\'t:r Letter

Delivered by me on: March 3, 20 I 7 at 10:30 a.m.

Dcli\'crcd by me at:   P.O. Box 12079. Austin. Tx 78711, in Travis County, by delivering to by
                       delivering Assuranl, Inc., by delivering to the Texas Secretary of State. its
                       agent for service of process. via CMRRR: 7015.3010.0000.9604.0842,
                       signed for by SPD/CPA a true copy of the above specified civil process.
                       ha\ ing first endorsed on such copy the date of delivery. I am over eighteen
                       ( 18) years of age and not a party to or interested in the outcome of this
                       case. This return is attached to original process or a copy thereof.

                       ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                       ·'My name is Alan R. Davis. My dote of birth is 8125/62. My address is
                       P.O. Box 38066, Dallas, Texas, 75238. United States of America. I declare
                       under penalty of perjury the foregoing is true and correct. Executed in
                       Dallas County, Texas on March 23. 2017.




                       Alan R. Davis. Authorized Person. Declarnnt" SCH-399, E'l(pircs 7131, 17
                       P. 0 . Box 38066, Dallas. Tx 75::!38. (::!14) 893-8956
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                                                                                                       APP. 16
EXHIBIT 7
                                            Alan R. Davis

                                                     *
                                            P. 0. Box 38066
                                           Dallas, Texas 75238


      Cell 21-1 II<JJ K9St.                                                    rmniloli'!Vn\'csugmionshd nel




                                                                  Via CMRRR: 7015.3010.0000.9604.0842
Friday, March 03,2017

Texas Secretary of Stnte
Office of the Secretary of State
Citations Unit
P.O. Box I 2079
Austin, Texas 787 I I-2079

Rc:     Michael Lcvisay vs. Assurnnt, Inc.
        17-1593-393 (Dcnton393rd Judicial District Court)
        Serve: Assurant. Inc.

Dear Sir or Madam:

Enclosed is an original and copy of a Citation and PlaintifT's Original Petition, Jury Demand. and Request
for Disclosure to Defendant Assurnnt, Inc . that per the Petition is heing served upon the Secretary of State
as Agent for Sen icc of Process pursuant to Tex. Ch . Prac & Rem . Code 17.044(a)( I), and 17.044(b) and
17 ,045(a). Also enclosed is check 3331 in the amount of $55.00.

The Defendant's name and address:

Assuram, Inc.
260 Interstate North Cir. SE
Atlanta. GA 30339-2210

Please return the Certificate to:

Evan B. Lang
The La\\ Offices of Rob Wile), P.C.
2613 Thomas Ave.
Dallas, l"x 75204

Sinccrclv

      ."#!/--
Alan R. Davis




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EXHIBIT 8
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                                                                                 SHERRI ADELSTEIN
                                                                                 Denton County District Cieri<
                                                                                 By: Shelley Mccutcheon, Deputy



                                     CAUSE NO. 17-1593-393


MICHAEL LEVISAY,                                   §      IN THE DISTRICT COURT
                                                   §
                     Plaintiff,                    §
                                                   §
v.                                                 §      393no JUDICIAL DISTRICT
                                                   §
ASSURANT INC.,                                     §
                                                   §
                     Defendant.                    §      DENTON COUNTY, TEXAS




     DEFENDANT'S VERIFIED ORIGINAL ANSWER & AFFIRMATIVE DEFENSES


        Defendant The Signal, L.P., incorrectly named as Assurant, Inc. ("Defendant'').!

hereby serves its Verified Original Answer and Affirmative Defenses to Plaintiff Michael

Levisay's Original Petition, Jury Demand, and Request for Disclosure ("Petition") and

states as follows:

                                       GENERAL DENIAL

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies each and every allegation contained in Plaintiff Michael Lcvisay's ("Plaintiff')

Petition, and demands strict proof thereof by a preponderance of the credible evidence, as

requil'ed by the Constitution and laws of the State of Texas.

                                   FIRST VERIFIED DENIAL

        Pursuant to Texas Rule of Civil Procedure 93, Assurant, Inc. denies that it was

Plaintiffs employer, and it denies that it is a proper party to this suit.




1 Assurnnt. Inc. is an improperly named party to this litigation as The Signal, L.P. is the legal entity

that operates the facility in question. Defendant does not object to Plaintiff amending his Petition to
identify the cm-rect part. To the I.'Xlent nn answer is required, Assurnnt, Inc. adopts the answe1· and
defenses set forth herein hy 'l'he Sibrnal. L.P.


DEFENDANT'S VERIFIED ORIGINAL ANSWEI! & AFFIItMATIVE DE FENS                                    PAGEl




                                                                                                                  APP. 20
                     AFFIRMATIVE AND OTHER DEFENSES

       1.      Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiffs burden to show the contrary, Defendant pleads

that all decisions made with respect to Plaintiffs employment were based on legitimate,

non-discriminatory criteria and not because of retaliation or Plaintiffs alleged disability or

any other legally protected status.

       2.      Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiffs burden to show the contrary, Defendant pleads

that Plaintiffs claims for damages are subject to all applicable statutory caps and

limitations.

       3.      Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiffs burden to show the contrary, Defendant pleads

that Plaintiffs claims are barred, in whole or in part, by Plaintiffs failure to comply with

applicable procedural and administrative prerequisites including timely charge filing

requirements and the exhaustion of all administrative remedies.

       4.      Subject to and without waiving the foregoing, and m the alternative if

necessary, and without waiving Plaintiffs burden to show the contrary, Defendant pleads

that it would have taken the same actions against Plaintiff in the absence of any alleged

impermissible motivating factor.

       5.      Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiffs burden to show the contrary, Defendant pleads

that it has not acted with malice, reckless indifference, or gross negligence in terminating

Plaintiffs employment.

       6.      Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiffs burden to show the contrary, Defendant pleads


DEFENDANT'S VERIFIED     RIGINAL ANSWER & AFFIRMATIVE DEFENSES                         PAGE2




                                                                                                 APP. 21
that Plaintiff has failed to mitigate his alleged damages and that Defendant is entitled to

an offset for any amount which was or could have been earned by Plaintiff.

       7.      Subject to and without waiving the foregoing, and in the alternative if

necessary, without accepting any burden of proof on the matter, Defendant pleads that the

claims and allegations made by Plaintiff are barred to the extent they exceed the

reasonable scope and investigation of the charge of discrimination and retaliation he filed

with the Equal Employment Opportunity Commission and/or the Texas Workforce

Commission.

      8.       Subject to and without waiving the foregoing, and in the alternative if

necessary, without accepting any burden of proof on the matter, Defendant pleads that

Defendant's good faith efforts to prevent discrimination and retaliation in the workplace -

and its good faith efforts to comply with Chapter 21 of the Texas Labor Code -bar Plaintiff

from recovering punitive or exemplary damages, if any. Any action, if any, by an employee

that is contrary to this effort is in violation of Defendant's policies and outside the course

and scope of such employee's authority.

       9.      Subject to and without waiving the foregoing, and in the alternative if

necessary, without accepting any burden of proof on the matter, Defendant asserts the

undue hardship defense in connection with Plaintiffs claim that Defendant failed to

provide a reasonable accommodation for his alleged disability.

       10.     Subject to and without waiving the foregoing, and in the alternative if

necessary, without accepting any burden of proof on the matter, Defendant pleads that

Plaintiffs claims for punitive and/or exemplary damages are unconstitutional and are

unavailable.

       11.     Subject to and without waiving the foregoing, and in the alternative if

necessary, without accepting any burden of proof on the matter, Defendant pleads that


DEFENDANT'S VERIFIED ORIGINAL       SWER & AFFIRMATIVE DEFENSES                        PAGE3




                                                                                                 APP. 22
Plaintiff has failed to state a claim upon which relief can be granted, because the Petition

fails to contain sufficient factual matter to state a claim to relief that is plausible on its face

with respect to some of the alleged discriminatory or retaliatory actions.

       12.     Subject to and without waiving the foregoing, and in the alternative if

necessary, without accepting any burden of proof on the matter, Defendant pleads that

Plaintiff was employed at-will by Defendant and was subject to termination of employment

for any legitimate reason, or for no reason at all.

       13.     Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiffs burden to show the contrary, Defendant pleads

that it exercised reasonable care to prevent and promptly correct any discriminatory or

retaliatory behavior, and Plaintiff unreasonably failed to take advantage of the

preventative or corrective opportunities provided by Defendant or to avoid harm otherwise.

       14.     Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiff's burden to show the contrary, Defendant pleads

that Defendant Assurant, Inc. is not properly named as a defendant in this matter because

it was not Plaintiff's employer.

       15.     Subject to and without waiving the foregoing, and in the alternative if

necessary, and without waiving Plaintiff's burden to show the contrary, Defendant pleads

that Plaintiffs claims are barred, in whole or in part, by the statute of limitations.

       Defendant reserves the right to assert any additional defenses as established by the

facts of the case.


                                    PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court order

Plaintiff to take nothing by this suit and dismiss Plaintiffs claims with prejudice and



DEFENDANT'S     ERIFIED ORIGINAL      SWER & AFFIRMATIVE DEFENSES                           PAGE4




                                                                                                      APP. 23
award Defendant its costs of court, and such other and further relief, either general or

special, at law or in equity, to which it may be justly entitled.



                                                 Respectfully submitted,

                                                 By:    Is/ Vicki L. Gillette
                                                       Vicki L. Gillette
                                                       State Bar No. 08957325
                                                       Jamie Lauren Strickler
                                                       State Bar No. 24071192
                                                       LITTLER MENDELSON, P.C.
                                                       2001 Ross Avenue
                                                       Suite 1500, Lock Box 116
                                                       Dallas, Texas 75201.2931
                                                       Telephone: (214) 880-8100
                                                       Telecopy: (214) 880-0181
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                              SHERRIADELS'f IN ATIORNEYS FOR DEFENDANT
                                               ASSURANT, INC.




      This is to certify that a true and correct copy of this document has been served on
counsel of record, according to the •rexas Rules of Civil Procedure, on April 7th, 2017.

Evan B. Lange
Robert J. Wiley
THE LAW OFFICES OF ROD WILEY, P.C.
2613 Thomas Ave.
Dallas, •rexas 75204
Telephone: (214) 528-6500
Facsimile: (214) 528-6511
clangc@robwiley.com

Attorneys for Plaintiff


                                                         lsi Virlli L. Gillette
                                                        Vicki L. Gillette
                                                        Jamie Lauren Strickler
       Firmwidt.o; H6756·1i·l.l 061i:l8:1.1086




DEFENDANT'S VERIFIED ORIGINAL ANSWEll & AFFlltMATIVE DEFENSES                      PAGE5




                                                                                            APP. 24
                                                  VERIFI CA'I' I0 N

S'l'A'rE OF TEXAS                             §
                                              §
COUN'l'Y OF [insert]                          §
                       l'e(\l-o"
            Before me, the undersigned notary, on this day personally appeared Jeremy Purvis,

who, after being duly sworn, stated under oath that he is the General Manager for The

Signnl, L.P., und that he has been duly authorized to verify Defendant Assurant, Inc.'s

Verified Original Answer & Affirmative Dt>fenses to Plnintifrs Original Petition.                                He

furl her stated that the fnct.s contained in Defendant The Signal, L.P.'s First Verified Denial

are based upon his perHonal knowledge and that he beheves they are true and correct.




           SUBSCRIBED AND SWORN TO BEFORE ME on this the                                 1r..   day of April, 2017.



                                                                              Notary Public in and for the
                                                                              State ofTexas


My Commission Expires:



                                                             .ir\~~~/1!.--.      CHARLES A. HEISER
                                                            lfi~J"\ Notary Public. St11te of Texas
                                                            ~~~l Comm. Expires 12·22·2020
                                                            ~~.m~'; Notary to 130940730

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DEFENDANT'S VERIFIED ORIGINAL ANSWER & AFFIRMATIVE DEFENSES                                                   AGE6




                                                                                                                      APP. 25
EXHIBIT 9
                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

MICHAEL LEVISAY,                                  §
                                                  §   Civil Action No._ _ _ _ __
                           Plaintiff,             §
                                                  §   Removed from:
v.                                                §
                                                  §   393rd Judicial District Court of
ASSURANT, INC,                                    §   Denton County, Texas
                                                  §
                           Defendant.             §


                                DECLARATION OF JEREMY PURVIS


         1.       My name is Jeremy Purvis and I am over the age of 21 and fully competent to

make this Declaration, which is based upon my personal knowledge.

         2.       I currently serve as a General Manager for The Signal, L.P. In connection

with my job responsibilities as General Manager, I have personal knowledge of the place of

incorporation and the principal place of business of Defendant The Signal, L.P.

         3.       The Signal, L.P. is a limited partnership organized under the laws of the

State of Pennsylvania. The Signal, L.P.'s principal place of business is located in Wayne,

Pennsylvania.

         4.       I declare under penalty of perjury that the foregoing is true and correct.

Executed on April JQ__, 2017 in Lewisville, Texas




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                                                                                               APP. 26
